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UNG Be Fares DISTRICT COURT FOR THE EASTERN DISTRICT
OF PENNSYLVANIA

   
  
 

 

CRISTOPHER FERREIRAS and
ANATASHA FIGUEROA h/w and ANALYN
FERREIRAS, a minor by her parents and
natural guardians, CHRISTOPHER
FERREIRAS and ANATASHA FIGUEROA,

CIVIL DIVISION

No.

 

Plaintiffs,
V.

WILFREDO CANALES, CANALES & SONS
TRUCKING, INC. and JOSE SANTOS
CANALES,

Defendants.

 

NOTICE OF REMOVAL
AND NOW, come the Defendants, Wilfredo Canales, Canales & Sons Trucking, Inc. and
Jose Santos Canales, by and through their counsel, PION, NERONE, GIRMAN, WINSLOW &
SMITH, P.C. and John T. Pion, Esquire, James DeCinti, Esquire and Thomas A. Wimmer,
Esquire, and pursuant to 28 U.S. C. §1441 and §1446, files this Notice of Removal of the
foregoing matter from the Court of Common Pleas of Berks County, No. 19-5096 to the United
States District Court for the Eastern District of Pennsylvania, and in support thereof, states as
follows:
1. Plaintiffs commenced this civil action by filing a Civil Action Complaint in the
Court of Common Pleas of Berks County, Pennsylvania at Civil Docket Number 19-5096 on
April 29, 2019.
2. Plaintiffs are citizens of the Commonwealth of Pennsylvania.

3. Defendant, Wilfredo Canales, is a citizen of the State of Tennessee.
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4, Defendant, Canales & Sons Trucking, Inc., is incorporated under the laws of the
State of Tennessee and has its principle place of business in the State of Tennessee.

5. Defendant, Jose Santos Canalas, is a citizen of the State of Tennessee.

6. On April 29, 2019, Plaintiffs filed a Civil Action Complaint in the Berks County
Court of Common Pleas which was served by mail on or about May 3, 2019.

7. Plaintiffs are citizens of the Commonwealth of Pennsylvania, Plaintiffs and
Defendants are diverse, and diversity of citizenship existed at the time this civil action was filed
and at the time of the filing of this Notice of Removal.

8, Plaintiffs’ Complaint asserts counts for negligence and carelessness and claims
damages for personal injuries including permanent injuries, consisting of acute strain and sprain
with radiculopathy of the cervical and lumbar spine of Plaintiff, Cristopher Ferreiras, as well as
economic claims for medical expenses that may be required for an indefinite period of time into
the future, loss of earnings, loss of business opportunities and/or impairment of earning capacity
or power, the amounts of [which are asserted to exceed the jurisdictional limits of compulsory
atbitration ($50,000.00) in Berks County].

9, In addition, Plaintiff, Analyn Ferreiras, a minor, by and through her parents and
natural guardians, Cristopher Ferreiras and Anatasha Figureroa, claims serious permanent
injuries including cerebral concussion, post-concussion syndrome, cervicalgia, headaches,
blurred vision, photophobia, dizziness, tinnitus and acute strain and sprain of the cervical spine
[which are asserted to exceed the jurisdictional limits of compulsory arbitration ($50,000.00) in
Berks County].

10. A fair reading of the Plaintiffs’ Complaint, with its inclusion of claims for serious

and permanent injuries, future earnings loss and past and future medical expenses, reveals an
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amount in controversy exceeding the sum of $75,000.00, exclusive of interest and costs. See
paragraphs 11-18 and paragraph 20 of Plaintiffs’ Complaint found in Exhibit “A”.

11. Accordingly, this action is one in which the District Courts of the United States
possess original jurisdiction under 28 U.S. C. §1332.

12. | Venue is proper in this Court because it is the district court for the district in
which Plaintiffs’ cause of action was original filed.

13. This Notice of Removal is filed within thirty (30) days after Defendants’ receipt
of service of Plaintiffs’ Complaint at which time it was first ascertained that Plaintiffs’ claim is
one which is removable, in that complete diversity exists and Plaintiff claims compensatory
damages for personal injury, loss of earnings and loss of earnings potential, as well as claims for
past and future medical expenses.

14. Attached hereto as Exhibit “A’, are true and correct copies of all of the pleadings
which have been filed in this action in the Court of Common Pleas in Berks County,
Pennsylvania at Docket No. 19-5096,

15. Concurrent with filing of this Notice of Removal, Defendants have filed a Notice
of Filing of Notice of Removal with the Prothonotary of the Court of Common Pleas of Berks
County, Pennsylvania, advising that Defendants have removed this action to the United States
District Court for the Eastern District of Pennsylvania, together with service to all parties.

16. By filing this Notice of Removal, Defendants do not waive any defenses which
may be available to it.

WHEREFORE, the civil action filed in the Court of Common Pleas of Berks County,
Pennsylvania at Civil Docket No. 19-5096 is hereby removed to the United States District Court

for the Eastern District of Pennsylvania.
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Respectfully submitted,

PION, NERONE, GIRMAN,
WINSLOW & SMITH, P.C.

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By “~~
John T. Pion, Esquire
PA LD. #43675
James DeCinti, Esquire
PA LD. #77421
Thomas A. Wimmer, Esquire
PA LD. #45294
Payne Shoemaker Building, 10" Floor
240 North Third Street
Harrisburg, PA 17101
#717-745-8768
Counsel for Defendants

Plaintiffs’ Counsel:

Donald A. Krain, Esquire

Feldman Shepherd Wohlgelernter Tanner Weinstock & Dodig, LLP
1845 Walnut Street, 21° Floor

Philadelphia, PA 19103

dkrain! 007@aol.com
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CERTIFICATE OF SERVICE

1, Thomas A. Wimmer, Esquire, of the law firm of Pion, Nerone, Girman, Winslow &
Smith, P.C., counsel for the Defendants, Wilfredo Canales, Canales & Sons Trucking, Inc. and
Jose Santos Canales, hereby state that a true and correct copy of the foregoing Notice of
Removal was filed with the Clerk of Court via U.S, Mail and a true and correct copy was served
upon counsel of record by electronic mail on this date on this date as follows:

Donald A. Krain, Esquire
Feldman Shepherd Wohlgelernter Tanner Weinstock & Dodig, LLP
1845 Walnut Street, 21° Floor
Philadelphia, PA 19103

dkrainl007@aolcom
(Counsel for Plaintiffs)

PION, NERONE, GIRMAN,
WINSLOW & SMITH, P.C.

Date: May 7, 2019 a fi
“ee py_ ho Me fie

John T. Pion, Esquire

PA LD. #43675

James DeCinti, Esquire

PA LD. #77421

Thomas A. Wimmer, Esquire
PA LD. #45294
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Supreme Court of Pennsylvania

Court of Common Pleas

Civil Cover Sheet
Berks

 

For Prothonotary Use Only:

 

Docket No:
County

 

 

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The faformation collected an dis forat is used safely for court aedninisivation purpasex, this forut does nat
supplement or replace the filing aad service of pleadings ar other papers as regitived by law or cules of court.

 

Commencement of Action:
Fe] Complaint
£7] Transfer from Another Iurisdiction

F"] writ of Summons

7} Petition

[7] Declaration of Taking

 

 

 

 

Lead Plaintiff's Name: Lead Defendant's Name:
Cristopher Ferreiras, et al. Wilfredo Canales, et al.
Dollar Amount Requested: EJ within arbitration limits
9
Are money damages requested? Fl Yes EI No (check onc) [Xl outside arbitration limits
Is this a Class Action Suit? [7 Yes No Is this an MDJ Appeal? Ti Yes Na

 

Name of Plaintiff/Appellant's Actomey:

 

Fl Cheek here if you have no attorney (are a Self-Represented [Pro Sef t dtigane)

 

 

Nature of the Case:

 

Place an “X” to the left of the ONE case category that most accurately describes your
PRIMARY CASE. lf you are making more than one type of claim, check the one that
you consider most important.

 

TORT (cio uot inchide Mass Tort)
Ft intentional
[7] Malicious Prosecution
[&] Motor Vehicle
F'] Nuisance
L] Premises Liability
I] Product Liability (does not include
mass tort)
[I] Slander/Libel/ Defamation
(J Other:

 

 

MASS TORT
I] Asbestos
F} Tobacco
{7} Toxic Tort - DES
F-] Toxic Tort - Implant
E1 Toxic Waste
F] Other:

 

CONTRACT (te not inchude Judgments)
E71 Buyer Plaintiff
I] Debt Collection: Credit Card
FE] Debt Collection: Other

 

Employment Dispute:
Discrimination
E] Employment Dispute: Other

FE] Other:

CIVEL APPEALS
Administrative Agencies
Il Board of Assessment
1 Board of Elections
Fi Dept. of Transportation
{4 Statutory Appeal: Other

 

 

F7] Zoning Board
L) Other:

 

 

 

 

PROFESSIONAL LIABLITY
[_] Dental
C1 Legal
[] Medical
(1) Other Professional:

 

 

 

 

 

 

REAL PROPERTY
(1 Ejectment
FE] Eminent Domain/Condemnation
FE] Ground Rent
[] Landlord/Tenant Dispute
F] Mortgage Foreclosure: Residential
Mortgage Foreclosure: Commercial
C1 Partition
C1 Quict Tile
FJ} Other:

 

 

MISCELLANEOUS

EJ] Common Law/Statutory Arbitration

F] Declaratory Judgment

F-] Mandamus

£_] Non-Domestic Relations
Restraining Order
Quo Warranto
Replevin

other:

 

Updated (1/2011

 
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Cristopher Ferreiras, et al. Berks County
v. Term
Wilfredo Canales, et al. No.
NOTICE TO DEFEND

NOTIFICACION PARA DEFENDERSE

NOTICE

You have been sued in court. If you wish to defend
against the claims set forth in the following pages, you
must take action within twenty (20) days after this
complaint and notice are served, by entering a written
appearance personally or by attorney and filing in
writing with the court your defenses or objections to the
claims set forth against you. You are warned that if you
fail to do so the case may preceed without you and a
judgment may be entered against you by the court
without further notice for any money claimed in the
complaint or for any other claim or relicf requested by
the plaintiff, You may lose moncy or property or other
rights important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR
LAWYER AT ONCE. If YOU DO NOT HAVE A
LAWYER, GO TO OR TELEPHONE THE OFFICE
SET FORTH BELOW. THIS OFFICE CAN PROVIDE
YOU WITH INFORMATION ABOUT HIRING A
LAWYER,

IF YOU CANNOT AFFORD TO HIRE A LAWYER,
THIS OFFICE MAY BE ABLE TO PROVIDE YOU
WITH INFORMATION ABOUT AGENCIES THAT
MAY OFFER LEGAL SERVICES TO ELIGIBLE
PERSONS AT A REDUCED FEE OR NO FEE.

Lawyers’ Referral Service of the
Berks County Bar Association
544 Court Street
Reading, Pennsylvania 19601
Telephone (610)375-4591
www. BerksBarorg

AVISO

Le han demandado a usted en el tribunal, Si usted quiere
dejenderse de las demandas expuestas en jas pdginas
siguientes, usted debe tomar accién en el plazo de veinte (26)
dias a partir de la fecha en que se le hizo entrega de ta
demanda y la notificacién, al interponer una comparecencia
escrita, en persona o por un abogado y registrando por escrito
en cl tribunal sus defensas o sus objeciones a las demandas en
contra de su persona, Se fe advicrte que si usted no lo hace, el
caso puede proceder sin usted y podria dictarse un fallo por el
juez en contra suya sin notificacién adicional y podria ser por
cualquier dinero reclamado en la demanda o por cualquier
otro reclamo o desagravie en la demanda solicitado por el
demandanie, Usted puede perder dinero o sus propiedades u
otres derechos importantes para usted.

USTED DEBE LLEVARLE ESTE DOCUMENTO A SU
ABOGADO INMEDIATAMENTE. sf NO TIENE
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INFORMACION RESPECTO A COMO CONTRATAR A UN
ABOGADG,

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CONTRATAR A UN ABOGADO, ESTA OFICINA
PUDIERA PROVEERLE INFORMACION RESPECTO A
INSTITUCIONES QUE PUEDAN OFRECER SERVICIOS
LEGALES A PERSONAS QUE CALIFICAN PARA LA
REDUCCION DE HONORARIOS O QUE NO TENGAN
QUE PAGAR HONORARIOS.

Servicio de Recomendacién para Contratar Abogados
del Colegic de Abogados def Condado Berks
544 Court Street
Reading, Pennsylvania 19601
Teléfono (610) 375-4591

www Berks Barre
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FELDMAN SHEPHERD WOHLGELERNTER TANNER WEINSTOCK & DODIG, LLP

By: Donald A. Krain
Identification No.: 36462
2tst Floor

1845 Walnut Street
Philadelphia, PA 19103
(215) 567-8300

 

Cristopher Ferreiras and Anatasha Figueroa
h/w
And
Analyn Ferreiras, a minor by her parents and
natural guardians, Christopher Ferreiras and
Anatasha Figueroa
104 _N. Church Street
Robesonia, PA 19551

Plaintiff

Vv.

Wilfredo Canales
107 Kelsie Circle
Lebanon, TN 37087

And

Canales & Sons Trucking, Inc.
105 W, Market St.

Lebanon, TN 37087

And

Jose Santos Canales

451 Kinsey Blvd.
Madison, TN 37115

Defendant

 

Attorneys for Plaintiffs

COURT OF COMMON PLEAS
Berks COUNTY

TERM,
No.

Jury Trial Demanded

COMPLAINT
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At all times material hereto plaintiffs Cristopher Ferreiras and Anatasha Figueroa
are individuals who reside at the above address.

At all times material hereto plaintiff Analyn Ferreiras, a minor resides at the
above address with her parents and natural guardians Cristopher Ferreiras and
Anatasha Figueroa.

At all times material hereto defendant, Wilfredo Canales is an adult individual
who resides at the above address. Mr. Canales was an employee of Canales &
Sons Trucking, Inc and/or an employee and actual or apparent agent of the
Defendants, Canales & Sons Trucking, Inc, and Jose Canales and was acting in
the course and scope of his employment and agency with the Defendants, Canales
& Sons Trucking, Inc, and Jose Canales.

Atall times material hereto defendant, Canales & Sons Trucking Inc, is a business
entity and/or corporation with a place of business located at 105 W. Market
Street, Lebanon, TN 37087 which owned the vehicle that was being operated by
Defendant Wilfredo Canales more specifically, a 1998 Freightliner tractor trailer.
At all times material hereto defendant, Jose Santos Canales is an adult individual
who resides at the above address and was the owner of the trailer being hauled by
Defendant Canales.

At all relevant times, Defendants Canales & Sons Trucking, Inc. and Jose Santos
Canales regularly conducted business in the Commonwealth of Pennsylvania and
Berks County, PA.

On May 19, 2017 at approximately 5:30 p.m., Plaintiff, Cristopher Ferreiras was

the operator of a 2010 Mercedes Benz. Plaintiff, Analyn Ferreiras was a
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passenger in the vehicle being operated by Cristopher Ferreiras. All parties were
traveling eastbound on interstate 78 approaching mile marker 38.1 in Greenwich
Township, Berks County, PA, when the vehicle in which plaintiffs Cristopher
Ferreiras and Analyn Ferreiras were seated was struck from behind by a vehicle
being operated by Defendant Wilfredo Canales and owned by Defendant’s
Canales & Sons Trucking, Inc and/or Jose Santso Canales. Said vehicle then
caromed into several other vehicles before bursting into flames. As a result of the
crash Plaintiffs sustained serious and permanent personal injuries more
specifically set forth below.

At the time of the accident, Defendant, Wilfredo Canales, was employed by the
Defendants, Canales & Sons Trucking, Inc. and Jose Santos Canales. Upon
information and belief, Defendant, Wilfredo Canales, was acting in the course and

scope of his employment at the time of the accident.

The accident as aforesaid was caused by the negligence of the Defendants and
was in no manner whatsoever -due to any act or failure to act on the part of the

Plaintiffs.

The negligence of the defendants consisted of the following:

a. Operating the said motor vehicle at a high and excessive rate of speed
under the circumstances;

b. Failure to keep a proper lookout ahead;

c. Failure to have said motor vehicle under such control as to be able to stop
within the assured clear distance ahead;

d. Failure to make proper observations of traffic upon the roadway;

e. Failure to properly use the brakes;

 
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f. Being otherwise negligent under the circumstances;

g. Operating a motor vehicle in careless disregard for the safety of persons or
property in violation of 75 Pa.C.8.A. §3714;

h. Careless and reckless driving;

i. Failure to slow and stop for slowing traffic ahead;

j. Failure to comply with the motor vehicle and commercial motor vehicle

code, law, and regulations of the Commonwealth of Pennsylvania;

k. Failure to comply with Federal code, law, and regulations, including the
Motor Carrier Safety Administration regulations;

I. Failure to comply with industry standards;

m. Failure to properly hire, train, retain, supervise and monitor Defendant’s
driver, Wilfredo Canales:

n. Failure to create, implement, and enforce appropriate policies and
procedures concerning the inspection, maintenance, and operation of a

commercial motor vehicle;

QO. Failure to comply with company policies and procedures concerning the
inspection, maintenance and operation of a commercial motor vehicle: and

p. Failure to properly inspect and maintain the commercial motor vehicle.

COUNT I

CRISTOPHER FERREIRAS V. ALL DEFENDANTS

As a result thereof, plaintiff, Cristopher Ferreiras, sustained serious injuries
including but not limited to an acute strain and sprain with radiculopathy of the
cervical and lumbar spine as well as injury to his nerves, ligaments, tendons and
discs with multiple disc herniations of his cervical spine and lumbar spine with as

well as aggravation of previously asymptomatic degenerative disc disease.

 
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As a result of the aforesaid, plaintiff has endured much pain and suffering, which
will continue in the future. He has incurred considerable medical expense for the
treatment of his said injuries, which will continue in the future. He has been
unable to perform his employment duties and, as a result thereof, his earning
capacity has been impaired.

As a result thereof, plaintiff has been or will be obliged to receive and undergo
medical attention and care and to expend various sums of money and to incur
various expenses for the injuries he has suffered, the cost or reasonable value of
which is in excess of benefits which he is entitled to receive, and he will be
obliged to continue to expend such sums or incur such expenditures for an
indefinite time in the future.

As a further result thereof, plaintiff has and will suffer a severe loss of earnings
and/or impairment of earning capacity or earning power, which loss has or may be
in excess of those benefits which he is entitled to receive, and he will continue to
suffer such loss of earnings and/or impairment of earning capacity and earning
power for an indefinite time in the future.

As a direct and reasonable result thereof, plaintiff has or may hereafter incur other
financial expenses or losses which exceed or may in the future exceed amounts
which he may otherwise be entitled to recover.

As a result of the aforesaid accident, plaintiff has been prevented from attending
to his usual and daily activities and duties, and will continue to be prevented from
attending to these activities and duties for an indefinite time in the future, to his

great detriment and loss.

 

 

 

 
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Furthermore, his injuries are serious and permanent resulting in a serious loss of a
bodily function as defined by the Pennsylvania Motor Vehicle Responsibility
Law.

Plaintiff is covered under an automobile insurance policy which provides for full
tort coverage as defined by 75 P.S. Sec. 1705.

WHEREFORE, Plaintiff, Cristopher Ferreiras, demands judgment against the
Defendants, individually and jointly and severally for damages, in an amount in

excess of $50,000.00, plus interest and costs.

COUNT I

ANALYN FERREIRAS, A MINOR vy. ALL. DEFENDANTS
Plaintiff incorporates herein paragraphs | through 18 in their entirety.
As a result thereof, plaintiff, Analyn Ferreiras, sustained serious injuries including
but not limited to cerebral concussion, post-concussion syndrome, cervicalgia,
headaches, blurred vision, photophobia, dizziness, tinnitus, blurred vision and
acute strain and sprain of the cervical spine.
WHEREFORE, Plaintiff, Analyn Ferreiras, demands judgment against the
Defendants, mdividually and jointly and severally for damages, in an amount in

excess of $50,000.00, plus interest and costs,

COUNT Ili - CONSORTIUM CLAIM

ANATASHA FIGUERQA vy. ALL, DEFENDANTS
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21. Plaintiff incorporates paragraphs | through 20 as though same were fully set forth
at length herein.

22. Asa further result of the foregoing, the plaintiff has been deprived of her
husband’s assistance, society and companionship and will continue to be deprived
for an indefinite time in the future.

WHEREFORE, plaintiff demands judgment against the defendant in an amount in

excess of Fifty Thousand ($50,000.00) Dollars.

FELDMAN SHEPHERD WOHLGELERNTER
TANNER WEINSTOCK & DODIG, LLP

Ou 2.

DONALD A. KRAIN (\
ATTORNEY FOR PLAINTIFF

Date:_4 2215
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VERIFICATION

Cristopher
I, CRISTOPHER FERREIRAS, hereby verify that ] am the plaintiff herein and that the

facts set forth in the foregoing are true and correct to the best of my knowledge, information and
belief.
I understand that false statements made by me are subject to the penalties of 18 Pa. C.S,

Sec. 4904 relating to unsworn falsification to authorities.

 

CARISTO wii FERRPIRAS~

DATED:
AER rene ur rk an SAPUMATSA URAL FOO ARAN SAR UO aU res LL VRARUELV eR FORE Ie A UE

Case 5:19-cv-02006-GJP Document1 Filed 05/08/19 Page 16 of 21

VERIFICATION

I, ANATASHA FIGUEROA, hereby verify that 1 am the plaintiff herein and that the
facts set forth in the foregoing are true and correct to the best of my knowledge, information and
belief.

I understand that false statements made by me are subject to the penalties of 18 Pa. C.S.

Sec. 4904 relating to unsworn falsification to authorities,

ANATASHA FIGUEROA

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on q tooho aus

DATED:
Case 5:19-cv-02006-GJP Document1 Filed 05/08/19 Page 17 of 21

YERIFICATION

ANALYN FERREIRAS a minor, by her parents and natural guardians, Christopher
Ferreiras and Anatasha Figueroa, hereby verify that ] am the plaintiff herein and that the facts set
forth in the foregoing are true and correct to the best of my knowledge, information and belief.

| understand that false statements made by me are subject to the penalties of 18 Pa. C.S.

Sec. 4904 relating to unsworn falsification to authorities.

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BR ee LR OWA er OU ec OF Ra re a sR UU Kn J Swan ee ae Ue

 

AG HOPER PERREIRAS ANATASHA FIGUEROA
Paréntt nd Galtiral guardian Parent and natural guardian
DATED:

10
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No, 19-5096

IN THE COURT OF COMMON PLEAS OF BERKS COUNTY, PENNSYLVANIA

CRISTOPHER FERREIRAS and
ANATASHA FIGUEROA h/w and ANALYN
FERREIRAS, a minor by her parents and
natural guardians, CHRISTOPHER
FERREIRAS and ANATASHA FIGUEROA,

Plaintiffs,
Vv.

WILFREDO CANALES, CANALES & SONS
TRUCKING, INC. and JOSE SANTOS
CANALES,

Defendants.

CIVIL DIVISION
No. 2010-916-CD
Issue No.

PRAECIPE FOR ENTRY
OF APPEARANCE

Code:
Filed on behalf of Defendants
Counsel of record for these parties:

John T. Pion, Esquire

PA LD. #43675

James DeCinti, Esquire

PA LD. #77421

Thomas A. Wimmer, Esquire
PA ID. #45294

PION, NERONE, GIRMAN,
WINSLOW & SMITH, P.C.
Payne Shoemaker Building, 10" Floor
240 North Third Street
Harrisburg, PA 17101
717-737-5833

JURY TRIAL DEMANDED

 
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No. 19-5096

IN THE COURT OF COMMON PLEAS OF BERKS COUNTY, PENNSYLVANIA

CRISTOPHER FERREIRAS and
ANATASHA FIGUEROA h/w and ANALYN
FERREIRAS, a minor by her parents and
natural guardians, CHRISTOPHER
FERREIRAS and ANATASHA FIGUEROA,

Plaintiffs,

¥.

WILFREDO CANALES, CANALES & SONS

TRUCKING, INC, and JOSE SANTOS
CANALES,

Defendants.

CIVIL DIVISION

No. 19-5096

PRAECIPE FOR ENTRY OF APPEARANCE

TO THE PROTHONOTARY:

Kindly enter our appearance on behalf of the Defendants, WILFREDO CANALES,

CANALES & SONS TRUCKING, INC. and JOSE SANTOS CANALES, regarding the above-

referenced matter.

AJURY TRIAL IS DEMANDED,

PION, NERONE, GIRMAN,
WINSLOW & SMITH, P.C.

By wee
Jolin, T\Pion, Esquire
J ene Esquire
Thomas AY Wimmer, Esquire

Payne Shoemaker Building, 10" Floor
240 North Third Street

Harrisburg, PA 17101

717-737-5833

Counsel for Defendants

 
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No. 19-5096

ATTORNEY CERTIFICATION

1 certify that this filing complies with the provisions of the Public Access Policy of the
Unified Judicial System of Pennsylvania: Case Records of the Appellate and Trial Courts that
require filing confidential information and documents differently than non-confidential

information and documents.

 

 

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No, 19-5096

CERTIFICATE OF SERVICE

I, John T. Pion, Esquire, hereby certify that a true and correct copy of the foregoing

Praecipe for Entry of Appearance was served upon counsel of record via e-mail this

of May, 2019, as follows:

Cth. day

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